                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 1 of 17



 1                                                                                     Honorable ___________

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 7                                     UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     DEREK TUCSON, ROBIN SNYDER,                                 No. [Cause Number]
 9   MONSIEREE DE CASTRO, and ERIK
     MOYA-DELGADO,                                               COMPLAINT
10
                                   Plaintiffs,
11
                            v.                                   JURY TRIAL REQUESTED
12
     CITY OF SEATTLE, ALEXANDER
13   PATTON, TRAVIS JORDAN, DYLAN
     NELSON, JOHN DOES (#1-4), and JANE
14   DOES (#1-2),

15                                 Defendants.

16

17                                               I.     INTRODUCTION

18               1.1        This is a civil rights action brought under 42 U.S.C. § 1983 for violations of

19   Plaintiff’s rights under the First, Fourth, and Fourteenth Amendments.

20               1.2        Seattle Municipal Code (SMC) 12A.08.020 is unconstitutional on its face and as

21   applied to Plaintiffs. This ordinance purports to criminalize any writing on any surface not

22   owned by the writer. Even if the writer had the owner’s express permission or reasonably

23   believed the writing was lawful, police can still arrest the writer—and only later, at trial, could

24   the writer present the owner’s express permission or the writer’s reasonable belief as an

25   “affirmative defense.” SMC 12A.08.020 makes no allowance whatsoever that the owner

26   impliedly authorized the writing. Thus, the ordinance sweeps within its criminal ambit an

27   inordinate degree of entirely innocent and constitutionally protected expressive activities,

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                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 2 of 17



 1   affording police an astonishing degree of discretion regarding when, and against whom, to

 2   enforce it.

 3               1.3        In this case, Defendants deployed that discretion to retaliate against criticisms

 4   written by Plaintiffs, four peaceful protesters who Defendants arrested for writing political

 5   messages in ordinary charcoal and children’s sidewalk chalk in an open and traditional public

 6   forum. Defendants selectively enforced SMC 12A.08.020 against Plaintiffs’ criticisms while

 7   tolerating politically neutral and pro-government chalking. Such viewpoint discrimination, too,

 8   the Constitution does not allow.

 9               1.4        The arrests began on the evening of January 1, 2021, outside the Seattle Police

10   Department (SPD) East Precinct when Plaintiff Derek Tucson wrote the words “peaceful protest”

11   on a concrete wall that the Defendant City of Seattle built over the public sidewalk around the

12   precinct building. Plaintiff Tucson wrote this political message with a piece of charcoal found on

13   the ground near the wall. Although the writing caused no damage to the wall, and would wash

14   off in the rain, Defendants arrested Plaintiff Tucson for the sole reason that he wrote this political

15   message. When several bystanders – the other three Plaintiffs in this case – responded by writing

16   similar messages in charcoal and children’s sidewalk chalk, Defendants arrested them too.

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                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 3 of 17



 1               1.5        After these retaliatory arrests, Defendants booked all four Plaintiffs into the King

 2   County Jail in violation of Covid-19-related booking policies that prohibited booking people for

 3   non-violent offenses. This occurred because, in December 2020, the Seattle Police Department

 4   and Mayor’s Office targeted non-violent protesters for retaliation in the form of an exception to

 5   these health and safety related booking policies. As a result, political protesters suspected of non-

 6   violent offenses, including Plaintiffs, were booked into the Jail during a pandemic while

 7   similarly situated non-political detainees were not booked.

 8               1.6        At stake is the basic question of whether Seattle residents can peacefully criticize

 9   their government officials in the public forum free from retaliation by those officials.

10   Defendants’ actions, practices, and policies in this case stand in stark contrast to the society of

11   free and vibrant expression that our Constitution stands for and protects.

12                                                   II.     PARTIES

13               2.1        Plaintiff Derek Tucson is a resident of Seattle, Washington.

14               2.2        Plaintiff Robin Snyder is a resident of Seattle, Washington.

15               2.3        Plaintiff Monsieree de Castro is a resident of Seattle, Washington.

16               2.4        Plaintiff Erik Moya-Delgado is a resident of Seattle, Washington.

17               2.5        Defendant City of Seattle (“City”) is a municipal corporation formed under the

18   laws of the State of Washington and acting under color of state law.

19               2.6        At all times relevant, Defendant Alexander Patton was employed by Defendant

20   City as a police officer with the Seattle Police Department (“SPD”). He is sued in his individual

21   and official capacities. He acted at all relevant times under color of state law.

22               2.7        At all times relevant, Defendant Travis Jordan was employed by Defendant City

23   as a police officer with SPD. He is sued in his individual and official capacities. He acted at all

24   relevant times under color of state law.

25               2.8        At all times relevant, Defendant Dylan Nelson was employed by Defendant City

26   as a police officer with SPD. He is sued in his individual and official capacities. He acted at all

27   relevant times under color of state law.

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 1               2.9        At all times relevant, Defendants John Does #1 - #4 and Jane Doe #1 were

 2   employed by Defendant City as police officers with SPD. They are sued in their individual and

 3   official capacities. They acted at all relevant times under color of state law.

 4               2.10       At all times relevant, Defendant Jane Doe #2 was a policy maker for the

 5   Defendant City of Seattle. She is sued in her individual and official capacity. She acted at all

 6   relevant times under color of state law.

 7                                       III.    JURISDICTION AND VENUE

 8               3.1        This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

 9               3.2        Venue is proper under 28 U.S.C. § 1391 because the events giving rise to these

10   claims occurred in this judicial district.

11                                                    IV.     FACTS

12               4.1        This case concerns Defendants’ seizure of all four Plaintiffs on the night of

13   January 1 through January 2, 2021.

14               4.2        Sometime prior to January 1, 2021, the Defendant City erected a temporary

15   concrete wall around SPD’s East Precinct building at 1519 12th Avenue, Seattle, WA. The

16   temporary wall, made of large concrete “eco-blocks” stacked to a height of approximately six

17   feet and topped with a chain link fence, obstructed the public’s access to the sidewalk along Pine

18   Street and 12th Avenue. Sometime after January 1, 2021, the Defendant City removed the

19   temporary wall.

20               4.3        At approximately 10:30 p.m. on January 1, 2021, four uniformed officers

21   employed by Defendant City emerged from the East Precinct to arrest Plaintiff Derek Tucson

22   from a group of approximately four or five people gathered on and near the public sidewalk. The

23   basis of the arrest was Defendants’ suspicion that Plaintiff Tucson wrote the words “peaceful

24   protest” in ordinary charcoal on the temporary “eco-block” wall. Plaintiff Tucson did not consent

25   to the arrest, and repeatedly asked why he was being arrested, but he did not resist.

26               4.4        Two officers physically seized Plaintiff Tucson. Public records indicate that

27   Defendant Patton was the “arresting officer.” Video of the arrest, compared with publicly

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                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 5 of 17



 1   available images of Defendant Patton, appears to confirm that Defendant Patton was one of the

 2   two officers who seized Plaintiff Tucson. Public records do not identify the second officer,

 3   whose name is not presently known to Plaintiffs. Video footage shows this unidentified officer,

 4   John Doe #1, to be male, white, bald, and wearing a dark blue facial covering.

 5               4.5        The charcoal writing of “peaceful protest” was inherently temporary, could have

 6   been wiped off with little effort, would wash away in the rain, and caused no damage to the

 7   function or aesthetic value of the temporary concrete “eco-block” wall.

 8               4.6        Members of the public who were nearby during Plaintiff Tucson’s arrest,

 9   including Plaintiff Snyder, verbally protested the arrest and repeatedly demanded an explanation.

10   Plaintiff Tucson’s arrest, and each subsequent arrest of the other Plaintiff’s, had the effect of

11   angering witnesses and escalating tension and rhetoric.

12               4.7        After Plaintiff Tucson was taken inside the precinct building, members of the

13   public wrote additional messages on the temporary wall in ordinary charcoal and children’s

14   sidewalk chalk.

15               4.8        The messages were political in nature and included the phrases “BLM” (“Black

16   Lives Matter”), “FTP” (“Fuck the Police”), “Free DT,” “Free Robin,” “Free them all,” “Abolish

17   SPD,” “Kill KKKops,” “Killers →” (arrow pointing at the precinct), “New Year No New

18   Names,” and “Fuck SPD.”

19               4.9        All of these political messages were written in ordinary charcoal or children’s

20   sidewalk chalk, inherently temporary, could have been wiped off with little effort, would wash

21   away in the rain, and caused no damage to the function or aesthetic value of the temporary

22   concrete “eco-block” wall.

23               4.10       Approximately four minutes after arresting Plaintiff Tucson, five uniformed

24   officers employed by Defendant City appeared, two emerging from a marked police vehicle and

25   three from the precinct building, to arrest Plaintiff Snyder on suspicion of having written one or

26   more of the political messages identified above in paragraphs 4.8 and 4.9. Plaintiff Snyder did

27   not consent to, but did not resist, the arrest.

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                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 6 of 17



 1               4.11       Two of the officers, one from the vehicle and one from the precinct, physically

 2   seized Plaintiff Snyder. Although public records indicate that Defendant Patton was the

 3   “arresting officer” for Plaintiff Snyder, video footage of the arrest does not appear to show

 4   Defendant Patton participating in the seizure. Instead, Plaintiff Snyder appears to have been

 5   seized by Defendant Nelson, whose sworn narrative admits his participation in the arrest. The

 6   name of the second officer who seized Plaintiff Snyder is presently unknown to Plaintiffs. Video

 7   footage shows this unidentified officer, John Doe #2, to be male, white, dark haired, and wearing

 8   a lighter-blue facial covering.

 9               4.12       Approximately twelve minutes after Plaintiff Snyder was arrested and taken

10   inside the precinct, ten uniformed officers employed by Defendant City appeared, two emerging

11   from a police vehicle and eight from the precinct, to arrest Plaintiff de Castro on suspicion of

12   having written one or more of the political messages identified above in paragraphs 4.8 and 4.9.

13   Plaintiff de Castro did not consent to, but did not resist, the arrest.

14               4.13       Two of the officers, one from the vehicle and one from the precinct, physically

15   seized Plaintiff de Castro. Again, public records indicating Defendant Patton’s role as the

16   “arresting officer” appears to be inconsistent with video footage of the officers who seized

17   Plaintiff de Castro. Rather, Defendant Nelson’s sworn narrative, in which he admits to arresting

18   Plaintiff de Castro, appears to be consistent with the video. The name of the second officer who

19   seized Plaintiff de Castro is presently unknown to Plaintiffs. Video footage shows this

20   unidentified officer, John Doe #3, to be male, white, light haired, and wearing a yellow facial

21   covering.

22               4.14       Approximately eight minutes after Plaintiff de Castro was arrested and taken

23   inside the precinct, approximately eleven officers employed by Defendant City appeared, three

24   emerging from the precinct building and approximately eight from four police vehicles, to arrest

25   Plaintiff Moya-Delgado on suspicion of writing one or more of the political messages identified

26   above in paragraphs 4.8 and 4.9 as well as part of a song lyric (“♪ Always some pig there to beat

27   me” in the style of Naked Eye’s “Always something there to remind me”) on the brick wall of the

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                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 7 of 17



 1   precinct building in children’s sidewalk chalk. The writing of the lyric, like the other political

 2   messages, was inherently temporary, could have been wiped off with little effort, would wash

 3   away in the rain, and caused no damage to the function or aesthetic value of the precinct.

 4   Plaintiff Moya-Delgado did not consent to, but did not resist, the arrest.

 5               4.15       All three of the officers who emerged from the precinct physically seized Plaintiff

 6   Moya-Delgado. Yet again, arrest paperwork indicating Defendant Patton’s role as Plaintiff

 7   Moya-Delgado’s “arresting officer” appears to be inconsistent with video footage of the arrest.

 8   The identities of the three seizing officers, which are not indicated in public records, are

 9   presently unknown to Plaintiffs. Video footage shows one of the first of these three unidentified

10   officers to likely be John Doe #1; the second, John Doe #4, to be male, white, dark-haired, with a

11   dark gray facial covering; and the third, Jane Doe #1, to be female, a person of color, dark-

12   haired, and wearing a black facial covering.

13               4.16       As a direct and proximate result of the foregoing events, each Plaintiff was seized,

14   handcuffed, escorted inside the East Precinct, placed in cold, disorienting, and uncomfortable

15   holding cells, and detained for substantial periods of time during which they experienced various

16   indignities, physical pain and suffering, and loss of the freedoms of expression, movement, and

17   association.

18               4.17       On March 4, 2020, the King County Executive announced that “Correctional

19   facilities” will restrict the type of bookings they will accept. Jails will not accept people brought

20   in for misdemeanor charges, except for misdemeanor assaults, violations of no contact or

21   protection orders, DUIs, sex crimes or other charges which present a serious public safety

22   concern.” This policy is referred to below as “the County’s Covid-19 booking policy”.

23               4.18       On January 2, 2021, the offense for which Plaintiffs were arrested was not on the

24   list of charges which present a “serious public safety concern” under the County’s Covid-19

25   booking policy.

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                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 8 of 17



 1               4.19       The County’s Covid-19 booking policy was subject to exceptions, referred to as

 2   an “override,” at the request of law enforcement and local government partners, including SPD

 3   and Defendant City.

 4               4.20       Prior to Plaintiffs’ arrest, at least one person employed by SPD at the rank of

 5   “assistant chief or higher” used their official position to “override” the County’s Covid-19

 6   booking policy so that it did not apply to people arrested during political protests.

 7               4.21       Prior to Plaintiffs’ arrest, at least one person employed by Defendant City in an

 8   “executive leadership” position in the Mayor’s Office used their official position to “override”

 9   the County’s Covid-19 booking policy so that it did not apply to people arrested during political

10   protests.

11               4.22       According to independent inquiry and information, Mr. John Diaz (former

12   director of the King County Department of Adult and Juvenile Detention) referred to the

13   “executive leadership” official referenced in paragraph 4.21 using she/her/hers. She is sued

14   herein as Jane Doe #2.

15               4.23       “Override” of the County’s Covid-19 booking policy by the SPD “assistant chief

16   or higher” and Jane Doe #2 discriminated against detainees based upon political participation

17   and viewpoint by causing those arrested for non-violent offenses in the context of political

18   protests to be booked into jail while those arrested for non-violent offenses in non-political

19   contexts were not booked.

20               4.24       As a direct, proximate, and foreseeable result of “overriding” the County’s Covid-

21   19 booking policy by the SPD “assistant chief or higher” and by Defendant Jane Doe #2,

22   Plaintiffs were booked into the King County Jail on January 2, 2021 based upon political

23   participation and viewpoint.

24               4.25       Booking into the Jail extended the duration, and enhanced the severity, of

25   Plaintiffs’ seizures: all four Plaintiffs were involuntarily moved from the East Precinct to the

26   King County Jail where they were searched, stripped of civilian clothing, dressed in jail garb,

27   photographed, fingerprinted, moved from one cold and unsanitary cell to the next, and otherwise

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                     Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 9 of 17



 1   subjected to various indignities, physical pain and suffering, and loss of the freedoms of

 2   expression, movement, and association.

 3               4.26       Each Plaintiff was released from the Jail at a different time of day on January 2,

 4   2021.

 5               4.27       According to their sworn statements, Defendants Jordon, Nelson, and Patton each

 6   independently reviewed and relied upon the elements of Seattle Municipal Code 12A.08.020—

 7   “Property Destruction” to establish probable cause for arresting Plaintiffs.

 8               4.28       SMC 12A.08.020 states: “A person is guilty of property destruction if he or she . .

 9   . (2) Writes, paints, or draws any inscription, figure, or mark of any type on any public or private

10   building or other structure or any real or personal property owned by any other person.”

11               4.29       SMC 12A.08.020 differs from a related Washington State statute, RCW

12   9A.48.090. Although both laws criminalize “writ[ing], paint[ing], or draw[ing] any inscription,

13   figure or mark of any type on any public or private building or other structure or any real or

14   personal property owned by any other person,” the state statute excludes writing, painting, and

15   drawing that occurs with the express permission of the owner. In contrast, the municipal

16   ordinance does not require any evidence regarding the property owner’s permission, which is the

17   writer, painter, or drawer’s burden to prove during prosecution as an “affirmative defense.”

18   Thus, under the plain language of the ordinance, Defendants could arrest and prosecute the

19   famous Seattle muralist Ryan “henry” Ward under SMC 12A.08.020 for painting a mural with

20   not only the owner’s express permission, but paid commission.

21               4.30.      SMC 12A.08.020 also permits Defendants to arrest and prosecute anyone who

22   had a “reasonable belief” that they had the lawful right to write, paint, or draw on someone else’s

23   property. Like express permission, the issue of “reasonable belief” is relegated to an “affirmative

24   defense.” Thus, the plain language of the ordinance would allow Defendants to arrest and

25   prosecute children for chalking a rainbow on the sidewalk in front of their home, protesters for

26   chalking political slogans on a temporary concrete wall built over the public sidewalk,

27   employees for using their employer’s word processing software, an attorney or law clerk for

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     19487.00001 ph232301
                    Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 10 of 17



 1   writing a note on a legal pad belonging to co-counsel or the court, or anyone who reasonably and

 2   innocently believes that their writing is impliedly authorized or protected by any legal right,

 3   including the First Amendment.

 4               4.31       When they asserted probable cause to arrest Plaintiffs, Defendants Jordon,

 5   Nelson, and Patton made no mention of having reviewed or considered the affirmative defenses

 6   of express permission or reasonable belief.

 7               4.32       By its plain language, SMC 12A.08.020 sweeps within its ambit an overwhelming

 8   degree of constitutionally protected expressions and activities.

 9               4.33       Prosecutors did not charge Plaintiffs within the two-year statute of limitations for

10   SMC 12A.08.020 or any related offense presumably because Plaintiffs’ only true crime was

11   criticizing the Defendants in the public forum.

12               4.34       The Defendant City enforced SMC 12A.08.020 against Plaintiffs selectively and

13   because of retaliatory animus.

14               4.35       The Defendant City does not apply SMC 12A.08.020 to temporary chalk or

15   charcoal writing that is supportive of the government or police. But for the content and viewpoint

16   Plaintiffs expressed on January 1, 2021, they would not have been arrested.

17               4.36       The Defendant City’s long-established policy is to treat the use of sidewalk chalk

18   as non-criminal.

19               4.37       On March 20, 2015, the SPD’s official Twitter account posted the following

20   response to a query from a member of the public regarding legality of politically neutral

21   messages written in chalk:

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                    Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 11 of 17



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27   Source: https://twitter.com/SeattlePD/status/578967302231609344

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 1               4.38       Consistent with the announcement on Twitter, images posted to the Seattle Police

 2   Foundation Facebook page suggest that Defendant City took no enforcement action against pro-

 3   police messages such as “WE ♥ SPD” chalked in public parks on July 8 and 15, 2017:

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15   Source: https://www.facebook.com/seattlepolicefoundation/photos/10155261025517419

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27   Source: https://www.facebook.com/seattlepolicefoundation/photos/10155286250797419

     COMPLAINT - 12                                                               MACDONALD HOAGUE & BAYLESS
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                    Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 13 of 17



 1               4.39       Likewise, the Defendant City’s police took no enforcement action against

 2   political messages such as “LIBERTY IS ESSENTIAL” and pro-police messages such as

 3   “DEFEND SPD” chalked during a “Back the Blue” rally at City Hall on July 15, 2020:

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25   Source: https://komonews.com/news/local/supporters-rally-outside-city-hall-to-defend-spd

26   (red circle added to video still-frame to highlight individual chalking in front of SPD officers)

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                    Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 14 of 17



 1               4.40       However, when members of the public chalk criticism of the government or

 2   police, the Defendant City reacts very differently, as demonstrated by the arrest and booking of

 3   Plaintiffs on January 1, 2021.

 4               4.41       Expressing the same discriminatory animus on March 3, 2021, SPD’s Lt. John

 5   Brooks cited “SMC Property Destruction” while threatening “enforcement action” against

 6   members of the public for chalking the public sidewalk outside of SPD’s West Precinct. This still

 7   frame image from an audio-video recording of Lt. Brooks’ threat shows sidewalk chalk visible in

 8   foreground criticizing SPD for the murder of Black and Brown Seattle residents:

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     COMPLAINT - 14                                                              MACDONALD HOAGUE & BAYLESS
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                    Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 15 of 17



 1               4.42       This municipal policy or practice of enforcing and threatening to enforce SMC

 2   12A.08.020 against people who express criticism of government and/or police in temporary

 3   messages written in traditional public forums on surfaces like the public sidewalk, including

 4   concrete barriers built over the public sidewalk, is chilling to free expression, tends to deter,

 5   punish, retaliate, and discriminate based on viewpoint, and is blatantly unconstitutional.

 6               4.43       The Defendant City’s policy or practice of enforcing and threatening to enforce

 7   SMC 12A.08.020 to chill, deter, punish, or retaliate against individuals like Plaintiffs is ongoing.

 8   Enforcement of SMC 12A.08.020 poses an immediate and continuing threat of repeated arrest

 9   and injury to Plaintiffs and similarly situated persons.

10                                          V.       CAUSES OF ACTION

11                          Count One: First Amendment Violations under 42 U.S.C. § 1983

12                 5.1      By virtue of the foregoing, Defendants subjected each Plaintiff to selective and

13   retaliatory arrest for engaging in protected speech, in violation of U.S. Const., amend. I, chilling

14   and deterring each Plaintiff’s protected speech. Defendants would not have arrested any Plaintiff

15   but for their protected speech. The moving force and substantial motivating factor of each arrest

16   was retaliation for protected speech.

17               5.2        By virtue of the foregoing, SMC 12A.08.020 is impermissibly vague on its face in

18   violation of U.S. Const., amend. I, such that Plaintiffs have no notice of the conduct prohibited,

19   chilling and deterring their protected speech.

20               5.3        By virtue of the foregoing, SMC 12A.08.020 is substantially overbroad on its

21   face, in violation of U.S. Const., amend. I. On its face, SMC 12A.08.020 prohibits substantially

22   more protected speech than necessary relative to any potentially legitimate sweep, chilling and

23   deterring each Plaintiff’s protected speech.

24               5.4        By virtue of the foregoing, SMC 12A.08.020 violates U.S. Const., amend. I as

25   applied to Plaintiffs, in that Defendants’ selective enforcement of the provision discriminated

26   against Plaintiffs’ viewpoint and was applied to punish and prohibit protected speech without a

27   legitimate or compelling state interest.

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                                                                                      705 Second Avenue, Suite 1500
     No. [Cause Number]                                                                  Seattle, Washington 98104
                                                                                    Tel 206.622.1604 Fax 206.343.3961
     19487.00001 ph232301
                    Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 16 of 17



 1                     Count Two: Fourteenth Amendment Violations under 42 U.S.C. § 1983

 2               5.5          By virtue of the foregoing, SMC 12A.08.020 is impermissibly vague on its face in

 3   violation of U.S. Const., amend. XIV, such that Plaintiffs have no notice of the conduct

 4   prohibited, depriving them of liberty without due process of law.

 5               5.6          By virtue of the foregoing, SMC 12A.08.020 facially violates U.S. Const., amend.

 6   XIV, by criminalizing entirely innocent conduct regardless of Plaintiffs’ intent and regardless of

 7   whether Plaintiffs reasonably believed they were expressly or impliedly authorized to make the

 8   mark, figure, or inscription alleged.

 9                          Count Three: Fourth Amendment Violations under 42 U.S.C. § 1983

10               5.7          By virtue of the foregoing, Defendant City subjected each Plaintiff to

11   unreasonable search and seizure, without probable cause or other justification, in violation of

12   U.S. Const., amend. IV.

13                                   Count Four: Monell Claim under 42 U.S.C. § 1983

14               5.8          By virtue of the foregoing, the Defendant City has a pattern, practice, or policy of

15   enforcing and threatening to enforce SMC 12A.08.020 in retaliation for protected speech,

16   discriminating against speech on the basis of content and viewpoint, and denying Plaintiffs and

17   similarly situated persons of liberty without due process of law. The Defendant City’s policies

18   and practices thereby violate Plaintiffs’ First, Fourth, and Fourteenth Amendment rights in

19   violation of 42 U.S.C. § 1983.

20                                             VI.     PRAYER FOR RELIEF

21               WHEREFORE, Plaintiffs respectfully request that the Court enter judgment and other

22   relief against Defendants as follows:

23               6.1          All damages authorized by law, in amounts to be determined at trial;

24               6.2          A declaration that SMC 12A.08.020 violates the First and Fourteenth

25   Amendments on its face;

26               6.3          A declaration that SMC 12A.08.020 violates the First and Fourteenth

27   Amendments as applied;

     COMPLAINT - 16                                                                    MACDONALD HOAGUE & BAYLESS
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                    Case 2:23-cv-00017-MJP Document 1 Filed 01/04/23 Page 17 of 17



 1               6.4        An injunction prohibiting Defendants from enforcing 12A.08.020;

 2               6.5        Reasonable attorney fees and costs as provided by law, including under 42 U.S.C.

 3   § 1988;

 4               6.6        A jury trial on all claims so triable; and

 5               6.7        Pre- and post-judgment interest on any amounts recovered, to the extent

 6   authorized by law.

 7               DATED this 4th day of January, 2023.

 8
        By: MacDONALD HOAGUE & BAYLESS                           By: THE LAW OFFICE OF NEIL FOX
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17              Attorneys for Plaintiff
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     COMPLAINT - 17                                                                    MACDONALD HOAGUE & BAYLESS
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